          Case 2:18-cv-00995-GMN-BNW Document 62 Filed 09/29/21 Page 1 of 1



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 3                            UNITED STATES DISTRICT COURT
 4                                    DISTRICT OF NEVADA
 5    EDWARD GARZA,                                          Case No. 2:18-cv-00995-GMN-BNW
 6                                        Petitioner,
             v.                                                          ORDER
 7
      BRIAN WILLIAMS, et al.,
 8
                                       Respondents.
 9

10          Good cause appearing, IT IS HEREBY ORDERED that Respondents’ unopposed first
11   Motion for Extension of Time (ECF Nos. 61) is GRANTED. Respondents have until November
12   9, 2021, to file their answer to the remaining claims of Petitioner’s second amended petition for
13   writ of habeas corpus.
14          DATED: September 29, 2021
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16                                                          GLORIA M. NAVARRO
                                                            UNITED STATES DISTRICT JUDGE
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